818 F.2d 30Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roger D. YOUNG;  Jimmy S. Frame, Plaintiffs-Appellants,v.James G. MARTIN, Governor;  John G. Patseavouras;  Aaron J.Johnson;  CaptainKinsey;  M.  Baker, Lieutenant;  John Doe,ThreeCorrectional Officers;  Harry Allsbrook;  AssistantSuperintendent Batton;  Sergeant Gallop;  Lieutenant Grant;Lieutenant Summer;  Major Sanders;  Lieutenant Forsyth;Ralph Hill;  Sergeant Sheilds, Defendants-Appellees.
    No. 87-7522.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 21, 1987.Decided May 6, 1987.
    
      Roger D. Young and Jimmy S. Frame, appellants pro se.
      Jacob Leonard Safron, Special Deputy Attorney General, Office of the Attorney General of North Carolina, for appellees.
      E.D.N.C.
      AFFIRMED.
      Before RUSSELL and HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Young v. Martin, C/A No. 86-658-CRT (E.D.N.C., Jan. 6, 1987).
    
    